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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

LAWRENCE R. POLINER, M.D.,
Plaintiff,
vS.

TEXAS HEALTH SYSTEMS, A TEXAS
NON-PROFIT CORPORATION, dba
PRESBYTERIAN HOSPITAL OF DALLAS;
and JAMES KNOCHEL, M.D.; CHARLES
HARRIS, M.D.; ANTHONY DAS, M.D.;
CHARLES LEVIN, M.D.; DAVID
MUSSELMAN, M.D.; JOHN HARPER, M.D.;
ROBERT BROCKIE, M.D.; JORGE
CHEIRIF, M.D.; STEVEN MEYER, M.D.;
AND MARTIN BERK, M.D.

Defendants.

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By

 

Deputy

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Civil Action No.

JURY TRIAL DEMANDED

ORIGINAL COMPLAINT

LAWRENCE R. POLINER, M.D., files this Original Complaint as follows:

I.

PARTIES

l. Plaintiff, Lawrence R. Poliner, M.D. ("Plaintiff" or "Dr. Poliner"), is an individual

who resides and practices medicine in Dallas, Dallas County, Texas.

2. Defendant, Texas Health System ("THS“) is a non-profit corporation organized under

the laws of the State of Texas. The sole shareholder of THS is Texas Health Resources, a non-profit

corporation organized under the laws of the State of Texas, with its principal place of business in

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Irving, Dallas County, Texas. THS does business as a number of health care facilities including
Presbyterian Hospital of Dallas (the "Hospital"), which is a hospital in Dallas, Dallas County, Texas,
in the Northern District of Texas. THS may be served by delivering a copy of this Original
Complaint to its registered agent Mr. Charles W. Boes located at 600 E. Las Colinas Blvd., #1550,
lrving, Texas 75039.

3 . Defendant, J ames Knochel, M.D., ("Knochel") is a medical doctor licensed to practice
in the State of Texas. Knochel was Chairman of the Department of lnternal Medicine and an agent
of the Hospital at all times referred to herein, and an active member of the Hospital`s medical staff.
Knochel resides in and his principal place of business is located in Dallas County, Texas in the
Northern District of Texas. Knochel may be served by delivering a copy of this Original Complaint
to his place of business located at Presbyterian Hospital of Dallas, Chairman, Department of lnternal
Medicine, 8200 Walnut Hill Lane, Dallas, Texas 75231.

4. Defendant, Charles Harris, M.D., ("Hariis“) is a medical doctor licensed to practice
in the State of Texas specializing in the field of cardiology. Harris was at all times herein a member
of the Hospital's medical staff while maintaining a private medical practice offering cardiology
services in the same geographic area as Dr. Poliner and with the same referral base. Harris resides
in and has a principal place of business in Dallas County, Texas in the Northern District of Texas.
Harris may be served by delivering a copy of this Original Complaint to his place of business located
at 8210 Walnut Hill Lane, Suite 230, Dallas, Texas 75231-4488.

5 . Defendant, Anthony Das, M.D., ("Das") is a medical doctor licensed to practice in
the State of Texas specializing in the field of general, nuclear and interventional cardiology. Das
was at all times herein a member of the Hospital`s medical staff while maintaining a private medical

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practice which offered cardiology services in the same geographic area as Dr. Poliner. Das resides
in and has a principal place of business in Dallas County, Texas in the Northern District of Texas.
Das may be served by delivering a copy of this Original Complaint to his place of business located
at CIMA, 7150 Greenville Avenue, Suite 650, LB 40, Dallas, Texas 75231.

6. Defendant, Charles Levin, M.D., ("Levin") is a medical doctor licensed to practice
in the State of Texas, specializing in the field of general and interventional cardiology. Levin was
at all times herein a member of the Hospital's medical staff while maintaining a private medical
practice offering cardiology services in the same geographic area as Dr. Poliner. Levin resides in and
has a principal place of business in Dallas County, Texas in the Northern District of Texas. Levin
may be served by delivering a copy of this Original Complaint to his place of business located at
ClMA, 7150 Greenville Avenue, Suite 650, LB 40, Dallas, Texas 75231.

7. Defendant, David Musselman, M.D., (“Musselman") is a medical doctor licensed to
practice in the State of TeXas specializing in the field of general, nuclear and interventional
cardiology. Musselman was at all times herein a member of the Hospital's medical staff while
maintaining a private medical practice offering cardiology services in the same geographic area as
Dr. Poliner. Musselman resides in and has a principal place of business in Dallas County, Texas in
the Northern District of Texas. Musselman may be served by delivering a copy of this Original
Complaint to his place of business located at North Texas Heart Center, 8440 Walnut Hill Lane,
Suite 700, Dallas, Texas 75231.

8. Defendant, John Harper, M.D., ("Harper") is a medical doctor licensed to practice in
the State of Texas specializing in the field of cardiology. Harper was at all times herein a member
of the Hospital's medical staff While maintaining a private medical practice offering cardiology

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services in the same geographic area as Dr. Poliner. Harper resides in and has a principal place of
business in Dallas County, Texas in the Northern District of TeXas. Harper may be served by
delivering a copy of this Original Complaint to his place of business located at North Texas Heart
Center, 844() Walnut Hill Lane, Suite 700, Dallas, Texas 75231.

9. Defendant, Robert Brockie, M.D., ("Brockie") is a medical doctor licensed to practice
in the State of Texas specializing in the field of general and interventional cardiology. Brockie was
at all times herein a member of the Hospital's medical staff while maintaining a private medical
practice offering cardiology services in the same geographic area as Dr. Poliner. Brockie resides in
and has a principal place of business in Dallas County, Texas in the Northern District of Texas.
Brockie may be served by delivering a copy of this Original Complaint to his place of business
located at 8220 Walnut Hill Lane, Suite 500, Dallas, Texas 75231, or 9330 Poppy Drive, Suite 405,
Dallas, Texas 75218.

l(). Defendant, Jorge Cheirif, M.D., (“Cheirif“) is a medical doctor licensed to practice
in the State of TeXas specializing in the field of echocardiography, general and invasive cardiology.
Cheirif was at all times herein a member of the Hospital's medical staff while maintaining a private
medical practice offering cardiology services in the same geographic area as Dr. Poliner. Cheirif
resides in and has a principal place of business in Dallas County, Texas in the Northern District of
Texas. Cheirif may be served by delivering a copy of this Original Complaint to his place of
business located at North Texas Heart Center, 8440 Walnut Hill Lane, Suite 700, Dallas, Texas
7523 l .

l l. Defendant, Steven Meyer, M.D., ("Meyer") is a medical doctor licensed to practice
in the State of Texas specializing in the field of interventional cardiology. Meyer was at all times

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herein a member of the Ho spital's medical staff while maintaining a private medical practice offering
the same medical service in the same geographic area as Dr. Poliner. Meyer resides in and has a
principal place of business in Dallas County, Texas in the Northern District of TeXas. Meyer may
be served by delivering a copy of this Original Complaint to his place of business located at North
Texas Heart Center, 8440 Walnut Hill Lane, Suite 700, Dallas, Texas 75231.

12. Defendant, Martin Berk, M.D., ("Berk") is a medical doctor licensed to practice in
the State of Texas specializing in the field of echocardiography, general and interventional
cardiology. Berk was at all times herein a member of the Hospital's medical staff while maintaining
a private medical practice offering the same medical service in the same geographic area as Dr.
Poliner. Berk resides in and has a principal place of business in Dallas County, Texas in the
Northern District of Texas. Berk may be served by delivering a copy of this Original Complaint to
his place of business located at CIMA, 715 0 Greenville Avenue, Suite 650, LB 40, Dallas, Texas
75231 .

II.
JURISDICTION AND VENUE

13. This action arises under the laws of the United States. The jurisdiction of the Court
is based, in part, upon its authority under 28 U.S.C. § 1337 to hear "any civil action or proceeding
arising under any Act of Congress regulating Commerce or protecting trade and commerce against
restraints and monopolies." Dr. Poliner brings this action under Section 4 of the Clayton Act (15
U.S.C. § 4) to recover damages incurred as a result of violations by the Defendants of Section l of
the Sherman Anti-Trust Act, (l 5 U.S.C. §l) and Sections 4 and 16 of the Clayton Act (15 U.S.C. §§
4 and 16) to secure equitable relief against a continuation of those violations ln addition,

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jurisdiction is also founded upon a violation of federal law, the Federal Health Care Quality
lmprovement Act of 1986 ("QHC Act“), 42 U.S.C.A., § lllll et. seq., due to the Defendants`
conducting of a malicious peer review designed to cause economic harm to Dr. Poliner.

l4. At all times relevant to this Original Complaint, Dr. Poliner and Defendants
transacted business at the Hospital, further affecting interstate commerce by treating a substantial
number of out of state patients, and receiving monies from Medicare, Medicaid, Champus, the
Federal Office of Personnel Management (OPM), Health Care programs, Blue Cross/Blue Shield,
Worker's Compensation and various private third-party insurance programs. Furthermore, Dr.
Poliner and the Defendants purchased, used and sold products and services while engaged in the
practice of medicine, including, but not limited to, the purchase of malpractice insurance, equipment
and other materials which affect the flow of interstate commerce and which forms an integral part
of the interstate distribution of such services and products which are manufactured, sold and flow
in a continuous and uninterrupted stream of interstate commerce.

15. Each of the claims for relief set forth in this Original Complaint are derived from a
common nucleus of operative fact involving substantially identical issues of fact and law such that
one would ordinarily be expected to try them in one judicial proceeding Consequently, the entire
action constitutes a single case wherein all claims should be combined and tried together in the
interests of judicial economy, convenience, fairness and in order to avoid unnecessary duplication
and multiplicity of actions Therefore, this Court has ancillary j urisdiction over all state law claims
asserted herein.

16. Venue is proper in this Court pursuant to 28 U.S.C.A § 139l(b) because Plaintiff
resides in this district and because each of the Defendants live and work in this district. Venue as

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to each Defendant is proper in this judicial district pursuant to the provisions of Title 15 U.S.C. §
22 and Title 28 U.S.C. §1391(b) and (c) in that each of the Defendants transact business, are
registered and/or licensed to transact business and are found in this judicial district. The unlawful
activities done pursuant to the conspiracy and course of conduct herein alleged Were carried out
within the Northern District of Texas, and interstate trade and commerce was and is carried on within
the Northern District of Texas.
III.
FACTS COMMON TO ALL COUNTS

17. This is an action for malicious peer review, for conspiracy to restrain competition and
inhibit trade, and for denial of due process. It is brought for violations of the anti-trust laws by
engaging in conspiratorial activities designed to ensure the cause of termination ofhospital privileges
and to ensure a lack of competition at the Hospital in the area of cardiology. Dr. Poliner also seeks
a declaratory judgment that the process used to summarily suspend his privileges at the Hospital in
June 1998 violated his contractual right to a fair process, as guaranteed by the bylaws of the Hospital
and of the medical staff. Dr. Poliner also seeks damages for the Hospital's breach of contract, based
on the resulting damage of his business and reputation, and well as damages for other related tort and
contract claims.

18. Dr. Poliner specializes in cardiology with subspecialties in the areas of nuclear
cardiology, echocardiography, invasive cardiology and interventional cardiology. Dr. Poliner has
a Widespread reputation and frequently attracts out of state patients.

19. "Nuclear Cardiology" - is a non-invasive technique using radioactive isotopes to
detect relative degrees of blood flow as well as contractility of the heart muscle.

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20. "lnvasive Cardiology" - involves a set of procedures involving the use and placement
of catheters in the heart to assess blood flow to the heart and function of the heart.

21. "lnterventional Cardiology" - involves techniques utilizing catheters and elements
such as balloons or stents, to dilate or remove obstructions located in the coronary arteries.

22. Each of these specialized areas of cardiology require the use of specialized equipment,
documented training and experience lf a cardiologist is denied the use of facilities that provide
such specialized equipment, he or she would be excluded from access to the cardiovascular market.

23. Defendant, THS provides healthcare services and transacts business affecting the flow
of interstate commerce The Hospital is the third largest hospital in the Dallas/Fort Worth area. The
Hospital also treats a substantial percentage of the cardiology cases in Dallas County, and a
substantial portion of all emergency and critical care patients are sent to the Hospital for treatment
The Hospital advertises its hospital as the pre-eminent one in North Texas in treating heart attack
patients. Likewise, other non-critical or emergent care patients in the area are referred by family
physicians, internal medicine physicians and cardiologists to interventional cardiologists With
medical staff privileges at the Hospital. A large number of such patients are from out of state.

24. Defendants were at all times relevant to this Original Complaint, in the business and
profession of providing to the consuming public, services, facilities and items related to
cardiovascular medical care at the Hospital, all of which involve and affect the flow of interstate
commerce

25. Defendants, THS, a Texas non-profit corporation, d/b/a Presbyterian Hospital of
Dallas, J ames Knochel, M.D., Charles Harris, M.D., Anthony Das, M.D., Charles Levin, M.D.,
David Musselman, M.D., John Harper, M.D., Robert Brockie, M.D., Jorge Cheirif, M.D., Steven

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Meyer, M.D., and Martin Berk, M.D., individually and in concert as part of a conspiracy, acted on
their own behalf pursuant to their interests which were independent of their affiliation with the
Hospital and which arose from their private practice of medicine Therefore, these Defendants
benefitted personally from their illegal contract, combination and conspiracy which is alleged herein,
The Defendants' conduct was, at all times, consistent with their independent interests These
Defendants' presently continue their private medical practices in Dallas County, Texas and remain
active members of the Hospital's staff with full medical staff privileges and continue to monopolize
the interventional, invasive and nuclear cardiology market. The Hospital itself maintains an active
and busy medical service facility, through which patients are admitted for interventional, invasive
and nuclear cardiology services, Which involves and affects interstate commerce

26. Prior to the illegal and anticompetitive conspiracy alleged herein, Dr. Poliner enjoyed
a prosperous cardiologypractice Due to Dr. Poliner's skill and specialized training in cardiovascular
medicine, in invasive, interventional and nuclear cardiology, and echocardiography, Dr. Poliner
received an increasing number of referrals from physicians in Dallas County, Texas, thereby
lowering revenues for the Defendants who were his economic competitors

27. Dr. Poliner's family has been long established residents of Dallas, Texas. He
graduated cum laude from The University of Notre Dame, received his M.D. degree from Cornell
University School of Medicine in 1969, and completed a residency in Intemal Medicine at the
University of Colorado in 1972. He became Board-certified in Intemal Medicine in 1972 and in his
subspecialty of Cardiovascular Diseases in 1977.

28. From 1972 to 1974, Dr. Poliner served as Director of lnternal Medicine at the United
States Air Force base in Lubbock, Texas. From 1974 to 1976, he completed a two-year fellowship

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in cardiology at the University of Texas-Southwestern in Dallas In 1976, Dr. Poliner was invited
to join the faculty and became an Assistant Professor of Cardiology at the University of Texas-
Southwestem, and worked there until he was recruited in 1979 to be a member of the faculty at
Baylor College of Medicine in Houston. From 1979 to 1984, he served as Assistant Professor of
Medicine and Director of the Nuclear Cardiology Laboratory in the Department of Cardiology at
Baylor, and also served as a consultant to NASA. His research was reported in 17 peer-reviewed
publications between 1976 and 1983. During this time, he gained extensive experience in
cardiology.

29. ln 1984, Dr. Poliner became Research Director for the Midwest Heart lnstitute in
Wichita, Kansas, where he practiced until 1993 as the group was being sold. At this time, Dr.
Poliner concomitantly gained enormous interventional experience with the Galichia Cardiovascular
Group. He remained in private practice in Wichita for another year before he was recruited to join
a cardiology group based in lndianapolis. He worked for this group in Terre Haute, lndiana from
1994 to 1996, before deciding to return home to Dallas

30. ln 1996, Dr. Poliner joined Cardiothoracic Surgery Associates of North Texas
("CSANT"), apredominantly cardiovascular surgery group practicing in the Dallas area. He applied
for and was granted privileges in cardiology at the Hospital. While at CSANT, Dr. Poliner drew
most of his patients from Paris, Texas (which is located about 100 miles northeast of Dallas), and
from Southern Oklahorria. As a result, he did not pose a competitive threat to any of the other
cardiologists practicing at the Hospital in Dallas

31. ln May 1997, Dr. Poliner left CSANT to go into solo practice in the Dallas area. He
opened his office in the professional building at the Hospital. His solo practice grew quickly, and

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for the first time his practice began to draw patients away from the practices of cardiologists
practicing at the Hospital and other places in Dallas His patients came primarily from two sources:
(1) the emergency room; and (2) referrals from other doctors

32. Until Dr. Poliner's practice began to threaten the practices of other cardiologists at
the Hospital, no question had ever been raised - either at the Hospital or at any of the other places
he had worked for twenty years - about the quality of his medical care

33. From July through December 1997, Dr. Poliner's practice in the Dallas area grew
steadily. Prior to May 1998, Dr. Poliner maintained privileges in good standing at the Hospital, to
perform nuclear, echocardiographic, invasive and interventional procedures ln response to the
competitive threat Dr Poliner posed to them, other cardiologists on the Hospital's medical staff began
raising unfounded concerns about Dr. Poliner's clinical skills and judgment, all in an effort to have
Dr. Poliner removed from the staff. There was no factual basis to any of those concerns, a
conclusion supported by every objective cardiologist (i.e., those not in direct economic competition
with Dr. Poliner) who later reviewed Dr. Poliner's cases The goal of the competing cardiologists
was to remove Dr. Poliner as an economic threat by building a case against him and by affecting the
termination of his catheterization and echocardiographic privileges at the Hospital. This method
of eliminating competition at the Hospital has become a pattem, particularly involving cardiologists
Fearing competition from Dr. Poliner and loss of business, the Defendants entered into a conspiracy
with each other to monopolize, or attempt to monopolize, and/or to inhibit competition, in the
invasive and interventional cardiology services performed at the Hospital. The Defendants
conspired to engage in unfair competition, inhibit trade and competition, and monopolize the
relevant market by engaging in a false and malicious peer review action against Dr. Poliner (and

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other competing cardiologists), and in an illegal boycott against Dr. Poliner, calculated to cause, and
which did cause, the loss of his invasive, interventional and echocardiographic privileges at the
Hospital for over seven months The Defendants also conspired to bring false and malicious peer
review by initiating a bogus peer review proceeding, and by thereafter preparing false and malicious
reviews of Dr. Poliner's work, all in order to justify the termination of Dr. Poliner's privileges

34. Beginning in early 1998, because of the unfounded "concerns" raised by his
competitors, and in furtherance of the Defendants' conspiracy against Dr. Poliner, some of Dr.
Poliner's cases became the subject of an intensifying review. F or example, on January 12, 1998, the
Hospital's Clinical Risk Review Committee ("CRRC") identified for review two cardiac
catheterization cases performed by Dr. Poliner in 1997 (involving patients named "K" and "B").

35 . On January 20, 1998, one of the two cases, patient K, was reviewed at a regular
meeting of the Cardiology/Cardiothoracic Mortality and Morbidity Review Committee At that time
the case was closed. The Committee's minutes noted that the case was "not referred for further
review."

36. On January 21, 1998, as a result of the CRRC meeting nine days earlier, Dr. Michael
Katz, the Chairman of the CRRC, sent a “Confidential Memorandum" With records from both the
"K" and "B" cases to Dr. J ames Knochel, the Chairman of the Hospital`s Department of lnternal
Medicine This memo was never sent to Dr. Poliner for response

37. ln turn, Dr. Knochel assigned the "K" case to Dr. Charles Harris and the "B" case to
Dr. Jose Rivera to review. Both Dr. Harris and Dr. Rivera are cardiologists who are direct economic
competitors of Dr. Poliner. On March 5 , 1998, Dr. Rivera filled out an Internal Medicine
Department "Quality Review Worksheet" on the "B" case, in which he criticized Dr. Poliner's care

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Dr. Rivera declared that the case was "not cleared.“ Dr. Harris reviewed the "K" case, and generated
an undated memorandum to Dr. Knochel, expressing a highly critical evaluation of Dr. Poliner's
management of the case

38. On April 13, 1998, the Defendants orchestrated another review of Dr. Poliner's 1997
cardiac catheterization and interventional case (involving a patient name "D"). As a result of this
additional review, on April 30, 1998, Dr. Katz sent another "Confidential Memorandum" to Dr.
Knochel, with records from the "D " case Dr. Knochel then sent the case to Dr. Rivera for review,
but Dr. Rivera did not complete the worksheet on the case until June 9, 1998. Dr. Knochel never
notified Dr. Poliner of the existence of these reviews and never gave Dr. Poliner an opportunity to
respond to the concems.

39. On May 12, 1998, while the foregoing cases were still under review by the CRRC,
Dr. Poliner performed a cardiac catheterization and interventions case on a patient named "W”.
"W”, like most of Dr. Poliner's patients who presented through the emergency room, had a life
threatening problem. "W" presented to the emergency room with prolonged chest pain suggesting
the possibility of cardiac injury. Three hours later, and while still experiencing chest pain, Dr.
Poliner was finally able to take "W" to the Cath Lab. During this procedure, the catheterization
laboratory equipment malfunctioned, and Dr. Poliner missed seeing part of a previously blocked or
"occluded“ artery. However, another artery that had several extremely high grade narrowings which
were believed to be causing the patient's symptoms on the basis of the evidence at hand was opened
and the patient became pain free Although this was a medically complicated procedure, and even
though the patient benefitted from this procedure, the Defendants, and in particular Dr. Knochel,
used this event to first place Dr. Poliner’s privileges in abeyance, and later to summarily suspend his

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privileges, without affording him the opportunity to explain or defend the incident as required by the
Hospital Bylaws. The effect of this summary suspension was to permanently harm Dr. Poliner's
professional reputation and to ultimately cause the suspension of privileges at the Hospital.

40. Dr. Poliner was never informed of these erroneous reviews of the CRRC or given the
opportunity to defend himself. All of these cases were eventually cleared by the Risk Review
Committee Nonetheless, Dr. Poliner was never notified and never given the opportunity to respond
to the flagrantly erroneous reports This is a clear departure from the procedure recommended by
the quality assurance advisements of the Joint Commission on Accreditation of Healthcare
Organizations ("JCAHO"). JCAHO has advisements regarding quality assurance and the way that
concerns that arise in peer review committees should be handled. JCAHO recommends that the
physician be allowed an opportunity for a response if a difficulty exists in patient care lmprovement
in patient care cannot be achieved if perceived problems are never revealed or discussed with the
physician nor can incorrect information ever be corrected if the physician is not informed of the
existence of the complaints

41. On May 13, 1998, Dr. Knochel summoned Dr. Poliner to his office after 5:00 p.m.,
and advised Dr. Poliner that despite his excellent record at the Hospital, he Was going to put Dr.
Poliner’s privileges into abeyance The meeting was attended by Defendants Harper and Levin.
During the meeting, Dr. Knochel referred to rumors, insinuations and complaints about Dr. Poliner
that had been made by competing cardiologists that were unsubstantiated and were untrue Dr.
Knochel was insulting and denigrating of Dr. Poliner’s experience in the cath lab. Dr. Knochel
specifically denied Dr. Poliner’ s long record of interventional experience expertise and track record
of excellent care Dr. Knochel made these comments in front of Drs Harper and Levin in order to

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attempt to cause ridicule and embarrassment Dr. Knochel made such disparaging remarks despite
his knowledge of the substantial body of documentation that Dr. Poliner had to submit to the
Hospital to be credentialed in the oath lab. Credentialing was carried out by the Medical StaffOffice
for privileges at the Hospital and Dr. Poliner’ s background and experience was exhaustively verified
for accuracy. This material was reviewed by Dr. Knochel.

42. During the meeting on May 13, 1998, Dr. Knochel demanded that Dr. Poliner agree
to sign a letter indicating his acceptance of the abeyance of his privileges for a period of 14 days to
allow the Hospital to conduct a limited review of his cases The abeyance letter was delivered to Dr.
Poliner the following day, after 2:00 p.m., with the demand that it be signed and returned by 5:00
p.m. or face termination Dr. Knochel misrepresented to Dr. Poliner that if he failed to agree, Dr.
Poliner would be immediately removed from the Hospital staff. Dr. Poliner was specifically advised
that he could not seek legal advice on whether to sign the letter. Despite the recommendations of
JCAHO, Dr. Knochel never notified Dr. Poliner of the existence of these supposedly adverse reviews
and never gave Dr. Poliner an opportunity to respond to the charges Dr. Levin and Dr. Harper each
told Dr. Poliner that the review “was for his own good” and that “no one is out to get you.” Dr.
Knochel even told Dr. Poliner that he was doing him a favor by not immediately terminating his
privileges Dr. Knochel made no attempt to understand the facts of the cases and he made no attempt
to discern the objective evidence in the care of the patients

43. In a May 14, 1998 letter, Dr. Knochel informed Dr. Poliner for the first time that the
reason for the abeyance of his cardiac catheterization privileges was the "lack of appropriate

assessment and the resultant negative clinical outcome" with patient "W" (who in fact had multiple

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severe narrowings of one of his coronary arteries opened and became pain free) , and a "pattern" of
poor quality care

44. Prior to signing the May 14, 1998 letter of abeyance, Dr. Knochel had contacted
competing cardiologists from the Hospital for the purpose of soliciting them to serve on the to-be-
formed committee Dr. Knochel conspired with these doctors, advising each of the prospective
committee members that Dr. Poliner had a serious problem by telling them that Dr. Poliner’s
privileges had already been placed in abeyance Dr. Knochel further advised the competing
cardiologists to look for evidence that echocardiograms were used as a basis to perform unnecessary
cardiac catherizations Dr. Knochel further assured the competitors that their identity would be
shielded and that they would be protected in this process

45. At the end of the 14 day abeyance period, Dr. Knochel sent a letter by messenger to
Dr. Poliner, requesting an additional 14 day extension of the abeyance period. Dr. Knochel told Dr.
Poliner that his privileges would be immediately terminated, and he would be off the staff and no
longer a member of the medical staff with no rights accorded by the bylaws and that would be the
end of the matter, if he did not agree to the extension. Accordingly, Dr. Poliner executed the
extension agreement, confident still that no adverse findings would result from the review process
Dr. Knochel did not tell Dr. Poliner that this period of time would be used to review approximately
22 additional patients "selected at random“ to assess Dr. Poliner's accuracy in interpretation of
echocardiograms, as well as getting Dr. Rivera, Dr. Levin and Dr. Meyer to review the "D" case,
and Dr. Das to review an additional cardiac catheterization case (involving a patient named "S”).

46. The minutes of the May 20, 1998 meeting indicated that the composition of the
committee was planned to avoid including physicians in direct economic competition with Dr.

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Poliner. However, the committee had already been chosen over a week earlier, and included direct
economic competitors of Dr. Poliner. The committee minutes further indicate that Dr. Levin and Dr.
Harper excluded themselves from the ad hoc committee to avoid allegations that they "targeted" Dr.
Poliner specifically for review without justification In other words, the chief of the section of
cardiology and the director of the oath lab, individuals with responsibility for quality in the
department, eliminated themselves from the committee because of the “potential for bias", but two
members were appointed from Dr. Levin's group (CIMA) and three from Dr. Harper's group (North
Texas Health Center) to conduct many of the reviews Dr. Harris was a solo cardiologist who
practices in cardiology but who did very little invasive and no interventional work at the time of the
reviews and sent his patients needing intervention to North Texas Heart Center,

47. The review focused on cases that utilized diagnostic tests that yield high economic
return, including cardiac catherization, interventional work, and echocardiography. All but one of
the individuals who performed the reviews were direct competitors of Dr. Poliner for this work. Dr.
Reardon, the one physician who was not in significant competition with Dr. Poliner, found nothing
wrong with any of Dr. Poliner’s work. Each of the competing cardiologists who served on the
committee found substantial problems with Dr. Poliner’s work, and recommended that his privileges
be suspended

48. ln the minutes of the lnternal Medicine Advisory Committee on May 27, 1998, it was
recommended that an outside reviewer be asked to review the cases in order to obtain the most
objective review of Dr. Poliner’s practice patterns Despite this express recognition of the need for
an unbiased, outside review, Dr. Knochel ignored the recommendation and proceeded with the
inquiry solely with the use of direct competitors of Dr. Poliner. The minutes also reflect the

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recommendation that Dr. Poliner's echo privileges would also be included in the abeyance Despite
this recommendation, Dr. Poliner was never advised that his echocardio grams were being reviewed.

49. Because of the onerous consequences of a summary suspension, the Hospital is
obligated by its own Bylaws and principles of fairness and due process to conduct a balanced and
"reasonable review" during the abeyance period. Beginning on May 14, 1998, Presbyterian Hospital
had 30 days to conduct such a review in order to determine whether Dr. Poliner's quality of medical
care was so sub-standard as to meet the standard for a summary suspension (i.e., that Dr. Poliner's
patient care "constitutes a present danger to the health of his patients") ln order to fulfill its
obligations under the Hospital Bylaws, the Defendants submitted Dr. Poliner's cases to his economic
competition for review rather than independent, unbiased outside reviewers (who would have
concluded, as did every unbiased reviewer of Dr. Poliner's work, that Dr. Poliner's work was well
within the standard of care). lnstead, the Defendants ensured that extremely harsh and erroneous
judgments would be made, and that a summary suspension would be imposed and Dr. Poliner's
reputation would be harrned. Up to this point Dr. Poliner still had not been informed of the reason
for the abeyance of his cardiac catherization and interventional privileges, and he was never
informed prior to the letter of suspension that his echocardiographic privileges were under review.

50. Turning the process over to Dr. Poliner's competitors for summary suspension, and
labeling him a dangerous doctor, was not a "reasonable review" as contemplated by Article VIII, Part
C, Section 3 of the Medical Staffolaws. Over the course of the review of Dr. Poliner's cases, every
unbiased reviewer (including the one member of the ad hoc committee who was not a significant
competitor) concluded that Dr. Poliner's work was consistent with the standard of care ln contrast,
every economic competitor who reviewed the same cases reached very different - and highly critical

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- conclusions This underscores the policy underlying the Federal Health Care Quality Irnprovement
Act (and codified in Article lX of the Medical Staff Bylaws) that peer review should be conducted
by practitioners who are not economic competitors - i.e., by persons with no economic interest in the
outcome of the proceedings The policy recognizes that one‘s professional judgment cannot help but
be affected when he or she has an economic interest in the outcome

51. Between May 20-29, 1998, members of the ad hoc committee reviewed 46 of Dr.
Poliner's cases and criticized his care of 29 of them (63% of the total reviewed). Not one of these
cases except "K", "D", "B" and "W" had been mentioned by the CRRC during the regular quality
assurance review process Dr. Meyer reviewed nine cases, and did not find a single one that met "a
reasonable standard for an interventionist in our community," and recommended many for further
review by the Director of the Cath Lab. Dr. Das reviewed nine cases and found Dr. Poliner's care
in four of them to be unacceptable Dr. Cheirif reviewed five cath lab cases, and concluded that Dr.
Poliner's care of three did not meet the standard of care and referred the other two to the Director of
Cath Lab. Dr. Harris reviewed nine cases, and found that Dr. Poliner's care did not meet the
standard of care or expressed concern in six of them. Dr. Brockie reviewed seven cases, and found
Dr. Poliner's care unacceptable and/or recommended further review by the Director of the Cath Lab
in all of them. The only member of the ad hoc committee who concluded that Dr. Poliner's care met
the reasonable standard for an interventionist in the community was Dr. Reardon, who reviewed
seven of Dr. Poliner's cases Note, importantly, Dr. Reardon does n_ot significantly compete with Dr.
Poliner for patients

52. Between June 1-8, 1998, Dr. Cheirif and Dr. Berk (both of them competitors of Dr.
Poliner) reviewed Dr. Poliner's echocardiogram interpretations in 32 cases - 22 additional cases

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pulled “at random," plus 10 from the group of approximately 46 cardiac catheterization cases
previously reviewed On June 8, Dr. Harris cleared the "D" case On June 9, Dr. Rivera finished
his review of the "D" case (and did n_ot clear it).

53. The reviews performed by members of the ad hoc committee of competing
cardiologists demonstrated massive hostility and intent to harm by misrepresentation, falsification
and fraud. Their advisements concerning patient care did not conform to the standards advised by
the American College of Cardiology and frequently advocated actions which, if taken, would
constitute malpractice The care advocated by many of the reviewers, if actually followed by Dr.
Poliner, would have resulted in harm or death to many of the patients The reviews were so blatantly
bad that they demonstrate they were intentionally flawed and malicious

54. On June 9, 1998, Dr. Poliner received a letter "outlining the concerns" expressed by
the IMAC regarding several cases it had reviewed and enclosing a copy of a summary of the critique
of his cardiac catheterization work by unidentified reviewers ln the letter, Dr. Poliner was told he
would be given one hour to respond to the criticism on 29 cases at a meeting of the IMAC that Dr.
Knochel scheduled just 48 hours later - on the morning of June 11, 1998, Dr. Poliner's request for
more time to prepare his response was summarily denied. An opportunity for Dr. Poliner to meet
and discuss the cases with the reviewers, to defend, refute or deny the charge, was likewise denied
despite the fact that the bylaws require that a physician be advised of an investigation and have the
opportunity to interview the ad hoc investigating committee

55. On June 11, 1998, Dr. Poliner appeared before the H\/IAC and was given less than
one hour to defend his work in 29 cases Dr. Poliner began by emphasizing that his patients were
often not the usual office practice patients; rather, they were acutely ill patients that come to him

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through the Emergency Room. Dr. Poliner gave each member of the IMAC copies of the criticisms
that had been made of his cases and had been presented to him by Dr. Knochel so they could see
exactly what the cardiologists alleged about his care Then using prepared text, Dr. Poliner
specifically addressed the criticisms of each case, demonstrating why the criticisms were not correct.
Dr. Knochel became frustrated by Dr. Poliner’s efforts to cover all of the cases and by the
documentation provided by Dr. Poliner, such that he became mad and enraged by the end of the
meeting. Dr. Poliner also demanded that an outside reviewer be employed to review the cases,
rather than the competing cardiologists This request was also refused. The meeting was a sham.
lt was form over substance There was no effort on the part of Dr. Knochel or the other members
of IMAC to actually listen to what Dr. Poliner was saying about the cases There was no effort on
the part of Dr. Knochel or the committee to actually consider that Dr. Poliner could be correct or that
he could possibly explain any differences of medical opinion No reasonable effort to discover the
truth was made The committee had made up its mind, and the meeting was perfunctory. At the
Medical Review Hearing later, Dr. Knochel admitted under oath that at the meeting, the committee
did not care what Dr. Poliner had to say because “he didn‘t agree with us.” The sole voting
cardiologist on the IMAC, Dr. Musselman, arrived twenty (20) minutes late for this meeting, and
therefore missed a large portion of Dr. Poliner's presentation

56. lrnportantly, there was no evidence that Dr. Poliner’s care of his patients was outside
the standard of care ln fact, the outcomes in Dr. Poliner’s cases exceeded the norm for the
Hospital’s department of cardiology and the national averages

57. Dr. Knochel knew, or should have known, that the charges leveled against Dr. Poliner
were false He knew, or should have known, that a group of competing cardiologists had set out to

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eliminate Dr. Poliner from the staff, and he facilitated it and encouraged it and ensured that it
occurred. Dr. Knochel chose people who had demonstrated hostility towards Dr. Poliner to perform
the reviews This action facilitated inhibition of competition at the Hospital.

5 8. Summary suspension is designed to remove the doctor from all hospitals everywhere,
and is required to be reported to the National Practitioners Data Bank, such that all hospitals across
the country will have notice that Dr. Poliner was considered a “dangerous doctor.” Because the
Hospital was aware that the summary suspension was brought for an improper purpose, it did not
report Dr. Poliner to the Data Bank, despite its obligation to do so. ln addition the Hospital has now
changed its bylaws to specifically address this issue and others raised by the mishandling of the
Poliner peer review.

59. On June 12, 1998, Dr. Knochel sent Dr. Poliner a letter summarily suspending his
cardiac catheterization lab privileges M his echocardiogram privileges This was the first time that
Dr. Poliner had any notice that his echocardiogram privileges were being investigated and evaluated.
The letter stated that the summary suspension was based on a review of Dr. Poliner's "performance
in the Cardiac Cath Laboratory" and a "subsequent review of [his] interpretations of
echocardiograms by an ad hoc committee of six cardiologists of the lntemal Medicine Advisory
Committee." The letter referred to a "report" of the ad hoc committee that was provided to the
members of the H\/IAC, and that the members of the IMAC recommended summary suspension of
Dr. Poliner's privileges "because of the number of cases that did not meet an acceptable standard
of care." The letter stated that "these deficiencies reflect delivery of substandard patient care . . . and
pose a risk to patient safety that necessitates . . . this formal corrective action." The letter of
summary suspension written by Dr. Knochel made false and misleading statements regarding factual

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elements of patients’ care that can only be construed as intent to harm and fraud. For example, Dr.
Knochel mischaracterized elements of a patient with a heart attack who went into cardiogenic shock
with statements that cannot be found in the medical records Allegations were made in the letter that
have absolutely no factual backing, and which the national experts who testified at the review
hearing found to be in significant error. The letter was written to destroy Dr. Poliner’s career,
without regard to the truth.

60. Pursuant to the bylaws of the Ho spital, summary suspension is generally reserved for
a doctor who, through some physical or mental defect, has become impaired and dangerous to his
patients Although no evidence of impairment or danger to patient care existed, Dr. Knochel
summarily suspended Dr. Poliner from practice He did so without the use of any outside reviewer,
relying solely on the intentionally flawed and biased reviews of economic competitors

61. Reviews from the ad hoc cardiologists labeled Dr. Poliner’s patients as not having
received proper care ln this population of critically ill individuals, the majority of whom presented
to the Emergency Room acutely ill, the patients did well with the interventional treatment given by
Dr. Poliner and went home improved. How is it possible that such a critically ill population of
patients would do so well despite being so mistreated? How is it that the reviewers said Dr. Poliner
fixed the wrong vessels, when the patients got better and went home?

62. Dr. Knochel is not a cardiologist but took action to ensure elimination of Dr. Poliner
(and other cardiologists) from the medical staff ultimately benefitting the two established groups at
the Hospital and those physicians who are his friends Peer review has been used as a weapon by

the two established groups, with Dr. Knochel as the head soldier.

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63. Pursuant to Article IX ("Hearing and Appeal Procedures") of the Medical Staff
Bylaws, Dr. Poliner requested a hearing on the summary suspension of his privileges Due to various
procedural delays utilized by the Hospital, the hearing did not commence until November 3, 1998,
The hearing committee heard the matter on the evenings of November 3, 4 and 5 , 1998. At the
hearing, Dr. Poliner was given approximately nine hours to defend his work in over 30 cases Dr.
Poliner’s request for additional hearing time was denied. Although he was told he could have
additional time, he was told it could be weeks or months before the panel could be reassembled for
additional presentation Accordingly, Dr. Poliner was required to pare his case down in order to fit
within the allotted time Many of Dr. Poliner's scheduled witnesses could not testify because of the
time constraints imposed by the Hospital.

64. During the hearing, Dr. Poliner presented evidence from nationally known experts
in the field of cardiology, each of whom testified without equivocation that Dr. Poliner’s care of his
patients met or exceeded the standard of care Each testified that the summary suspension was not
warranted. Each of these experts testified that Dr. Poliner should be reinstated.

65 . The Hospital presented the testimony of Dr. Richard Lange, a well-known
cardiologist who frequently testifies against other doctors in both peer review proceedings and in
medical malpractice lawsuits Dr. Lange’s testimony was as bogus as the underlying reviews
Although he failed to admit it, he essentially “adopted” the underlying reviews performed by the
competing cardiologists who served on the committee, without conducting a full factual investigation
of the cases Dr. Lange has testified on at least three occasions at hearings to revoke the privileges

of doctors at Presbyterian and other hospitals

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66. The reviews performed by the Defendants, as well as those performed by Dr. Lange,
were so erroneous that the only logical conclusion to be drawn was that they were prepared for a
malicious purpose The reviews were inaccurate, biased, arbitrary and unreliable The reviews,
themselves, were so totally unfounded so as to demonstrate malice per Se.

67. The Hearing Committee made its findings and recommendations in a Report to the
Medical Board (the governing committee of the medical staff) dated November 9, 1998, In a letter
dated November 20, 1998, Dr. Poliner was notified of the decision of the Medical Board. Most
significantly, the Medical Board decided that Dr. Poliner's cardiac catheterization lab and
echocardiogram privileges should be restored ln the written opinion of the Review Board, drafted
by the Hospital’ s attorneys, it was also stated that Dr. Knochel's summary suspension of Dr. Poliner's
privileges should be upheld, “based on the evidence available to him at the time." This finding was
yet another attempt by the Hospital to shield the peer review process from litigation by attempting
to justify the decision of Dr. Knochel to summarily suspend Dr. Poliner. The Medical Board also
recommended that Dr. Poliner be required to have mandatory consultation with another cardiologist
for the first 30 cases he performed in the cardiac catheterization lab. However, on December 16,
1998, the Medical Board made a material change to its original recommendation and removed the
mandatory consultation provision lnstead, it substituted a routine retrospective review of Dr.
Poliner's first 30 cardiac catheterization lab cases, along with the review of 30 other cases chosen
at random from the cardiology department and performed by an agreed upon reviewer,

68. Dr. Poliner's privileges were finally restored on December 17, 1998, over seven
months after initially being held in abeyance However, because of his concerns about the permanent
effects of the summary suspension remaining on his record, Dr. Poliner appealed that portion of the

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Medical Board's findings which concluded that the summary suspension was initially warranted.
The appeal was made to the Committee on Professional Affairs (COPA) of the Board of Trustees
of Texas Health System, pursuant to Article IX, Part D of the Medical Staff Bylaws

69. Both Dr. Poliner and the Medical Board (his adversary in the appeal) submitted
written statements to the COPA. ln his written statement, Dr. Poliner expressed concern - accurately
- about the effect of the summary suspension remaining on his record:

The presence of this suspension on my record continues to be injurious to me as it

[must be] reported to managed care companies hospitals malpractice insurers, and

licensing boards 1 desire that the summary suspension be expunged from my record

as it has no foundation or merit.
In its written statement, the Medical Board represented - inaccurately and misleadingly - that Dr.
Poliner's concern were unfounded:

One of Dr. Poliner's biggest misstatements is on the last page of his Written

Statement. Dr. Poliner states that the suspension of his Cardiac Cath Lab and

echocardography privileges is being or has been reported to managed care companies,

hospitals, malpractice insurers, and licensing boards That is simply not the case

Since the suspension was not a final action, and all of Dr. Poliner's privileges will be

reinstated once appeal becomes final, no report whatsoever was or will be generated

and provided to any state or federal agency regarding this matter,
This is highly misleading representation In fact, the Hospital g reported Dr. Poliner's summary
adverse action and continued surveillance of his cases to another hospital at which Dr. Poliner
applied for privileges Privileges were declined at that hospital. ln addition, Dr. Poliner must
himself report it when applying for privileges or attempting to be included in managed care
contracts The confidential peer review proceeding was reported to another hospital before a final

determination had been reached. The hospital then contacted Dr. Poliner regarding the events at the

Hospital.

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70. The COPA heard the appeal on March 2, 1999, and by March 8 decided to uphold
the summary suspension - on the grounds that it did not have the authority to set aside the summary
suspension The Board of Trustees was obligated within 30 days after the conclusion of the appellate
review (in this case, by April 8, 1999), to issue its decision However, it was not until June 7, 1999
that it decided to uphold the COPA's findings, and not until July 7, 1999 that Dr. Poliner was finally
notified of the Board of Trustee's decision

71. The "concerns" raised about Dr. Poliner's work were without merit, as reflected by
the fact that his privileges were restored in full. However, the fact that his privileges were wrongly
subject to a summary suspension for a period of more than seven months has caused severe damage
to Dr. Poliner's medical practice The routine 30-case review of Dr. Poliner's cardiac catheterization
lab cases, which under normal circumstances would have been completed within six months, has yet
to be completed As a result, any hospital at which he applies for privileges is told both that his
privileges had been summarily suspended M that his work remains under review, which casts
strong doubt on his professional credentials and severely impairs any opportunity to obtain
cardiology privileges at other hospitals

72. Dr. Poliner’s cardiologypractice has been ruined He has been labeled as a dangerous
doctor by the Hospital. The peer review process was not secret. The fact that Dr. Poliner was
summarily suspended was quickly “leaked” to the medical community. lmmediately, Dr. Poliner’s
referral sources dried up, and have to this date not returned Quite simply, primary care physicians
are afraid to send their patients to a cardiologist whom the Hospital has labeled “dangerous,” despite

the fact that Dr. Poliner’s privileges were reinstated The other doctors simply assume that Dr.

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Poliner “got off” or “had good lawyers,” or that it is simply two risky to send patients to him, not that
Dr. Poliner was actually innocent of the charges leveled against him.

73. Despite being cleared by the review board and despite the testimony of a large number
of nationally recognized cardiologists at the hearing, Dr. Knochel is still insistent on terminating Dr.
Poliner from the medical staff at the Hospital. Dr. Knochel has continued to “monitor” the activities
of Dr. Poliner, hoping that he will make some type of medical mistake that he can again use as the
basis for a peer review action ln that respect, Dr. Knochel has recently sent Dr. Poliner another
letter, dated May 5 , 2000, indicating that Dr. Poliner is under review for a case involving patient
“M", whom Dr. Poliner was asked to supervise on an exercise stress test. The stress test was
conducted over six months prior, but Dr. Knochel recently initiated the investigation of this patient.
This action on the part of Dr. Knochel demonstrates that the conspiracy to terminate Dr. Poliner from
the staff at the Hospital continues

74. Dr. Poliner files this suit to stop Dr. Knochel, the Hospital, and the other competitors
named as Defendants, from continuing their effort to terminate Dr. Poliner’s privileges at the
Hospital based on false and malicious peer review, all in an effort to control the market and inhibit
competition in violation of law. The suit is also brought to seek the return of Dr. Poliner’s good
reputation and name in the medical community. Finally, this suit is brought to obtain financial

payment from the Defendants who have ruined Dr. Poliner’s career,

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IV.
CAUSES OF ACTION
COUNT 1
COMBINATION AND CONSPIRACY IN
VIOLATION OF SECTION 1 OF THE SHERMAN ACT AND SECTION 4 OF THE
CLAYTON ACT
(All Defendants)

7 5. The statements and allegations contained in paragraphs 1-74 are incorporated herein
by reference as though fully set out herein

76. Beginning at least as early as April 1998, the exact date being unknown to Dr.
Poliner, and continuing thereafter up to and including the date of the filing of this Complaint, the
Defendants have conspired to inhibit trade and competition in violation of § 1 of the Sherman Act,
15 U.S.C. §1, by engaging in an unlawful combination and conspiracy to blacklist and boycott Dr.
Poliner, by first placing his privileges in abeyance with due process, and then by summarily
suspending him from the practice of echocardiography and cath lab at the Hospital.

77. Dr. Poliner has suffered the type of inj ury the anti-trust laws were intended to prevent
and that flows from that which makes the Defendants’ acts unlawful. The injury reflects the anti-
competitive effect either of the violation or of anti-competitive acts made possible by the violation

78. Dr. Poliner’s injury and damages coincide with the public detriment tending to result
from the violation The effect of the conspiracy is a diminution in competition in the field of
cardiology at the Hospital specifically and in the Dallas/Ft. Worth market. This is particularly true
in light of the fact that managed care contracts are in existence which require patients to see only
certain doctors, and often limit the patients’ choice to a select hospital Thus, the consuming public

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that is part of a managed plan may not be able to use Dr. Poliner because their plan will not allow
them to do so except at the Hospital.

79. In addition, the summary suspension was ablack mark on Dr. Poliner’s career, which
he will always be required to disclose on health care related applications and which will inhibit or
prevent him from obtaining privileges in other hospitals

80. Dr. Poliner's privileges were terminated by the Hospital as a result of false and
malicious peer review, The competitive significance of Dr. Poliner’s exclusion from the Hospital
must be measured, not just by the particularized evaluation of his own practice, but also by a general
evaluation of the impact of the restraint on other participants and potential participants at the
Hospital. It is believed that greater than 95% of care in cardiology at the Hospital for patients
residing in Dallas is delivered by Cll\/IA and North Texas Heart Center. Primary care physicians
have contractual relationships with System Health Providers, a contracting agency for physicians at
the Hospital with insurance and managed care companies Accordingly, the majority of general
cardiology care in this immediate environment is provided by Dr. Harper, Dr. Cheirif, Dr.
Musselman, Dr. Meyer and two others at North Texas, and Dr. Das, Dr. Levin, Dr. Berk and one
other at CIMA. Of those ten (10) doctors, seven (7) were involved in the peer review process
against Dr. Poliner that resulted in his summary suspension They are competing cardiologists in the
same hospital system. After the elimination of Dr. Poliner, both CIMA and North Texas added
additional cardiologists to help with the increased patient load.

81. Prior to his suspension, Dr. Poliner received a large portion of his work from the
emergency room. Emergency room work is sought after and is economically advantageous to
cardiologists because it represents income-generating procedures Patients who present to the

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emergency room often need tests such as echocardiograms, exercise tests, exercise or dobutamine
echocardiograms, exercise nuclear studies, adenosine stress nuclear studies, cardiac catherizations
and/ or interventional work. Dr. Poliner was trained in and performed each of these procedures The
emergency room also represents an important source for complying with the Hospital’s minimum
requirements for number of procedures/per year. Emergency room patients often need follow up care
as well. The emergency room is also a traditional location for physicians, especially cardiologists,
beginning in practice to seek patients since they do not have an established referral base

82. Soon after his summary suspension, Dr. Poliner was removed from the emergency
room cardiology call schedule and calls from the emergency room decreased dramatically
Participation in the call schedule was controlled by Dr. Harper. After he was reinstated the initial
January, 1999 emergency room cardiology call schedule did not include Dr. Poliner. After Dr.
Poliner voiced complaints to the Hospital, the emergency room cardiology call schedule was
amended to include Dr. Poliner. Despite his inclusion on the emergency room list, Dr. Poliner now
rarely receives any calls to the emergency room at the Hospital. lt appears that the two competing
groups at the Hospital also control access to the emergency room, and attempt to eliminate or stifle
competition in that fashion as well. Dr. Poliner gets virtually no business from the emergency room,
and his referral base has all but disappeared

83. Although the boycott of Dr. Poliner has no obvious effect on interstate commerce,
the proper focus is upon the potential harm that would ensue if the conspiracy were successful rather
than upon the actual consequences The essence of any violation of §1 of the Sherman Act is the
illegal agreement itself, rather than the overt acts performed in furtherance of the agreement that is
relevant.

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84. ln addition, because the conspiracy was actually successful Dr. Poliner was
summarily suspended from practicing his cardiology specialities of echocardiography and cath lab,
which represented over 90% of his practice, and which effectively put him out of business As a
matter of practical economics there was a reduction in the provision of cardiology services in the
Dallas market. The Defendants conspired with others to abuse the peer review process and thereby
deny Dr. Poliner access to the market for cardiology services provided by the Hospital. The “peer
review process” was the “gateway” that controls access to the market for services

85. During the period of his abeyance and suspension, and continuing today, Dr. Poliner
is restrained in his ability to make his high quality services readily and fully available to the public;
therefore the public need for cardiovascular medicine and related healthcare services will not be met.

86. Dr. Poliner was deprived of access to the Hospital’s cardiac catherization and
echocardio graphic facilities thereby denying patients many of whom are beneficiaries and recipients
of Medicare, Medicaid, insurance contracts and other third-party reimbursement, the opportunity
to seek the services of Dr. Poliner.

87. Defendants have depleted the resources of Dr. Poliner who, even where granted his
due process rights privileges and review requested, has expended the financial resources required
to remain in business or to compete successfully in resisting or overcoming the Defendants'
conspiracy.

88. Defendants have delayed the ultimate granting of due process rights privileges and

review so as to damage severely Dr. Poliner's ability to compete or remain in business

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89. The effect of the combination and conspiracy has been and will be, among other
things to prevent and restrain competition in the furnishing of interventional, nuclear and
echocardiographic cardiology services to the public.

90. As a direct and proximate result of the aforesaid combination and conspiracy, Dr.
Poliner has expended considerable sums of money which he would not otherwise have been required
to spend due to the necessity of overcoming the illegal attempts by the Defendants to deny Dr.
Poliner his right to practice interventional cardiology at the Hospital.

91. As a result of the combination and conspiracy to restrain trade and competition by
the Defendants Dr. Poliner has been caused to suffer and will continue to suffer substantial damages
to his reputation and practice, all to his detriment

92. The Defendants concerted efforts to eliminate Dr. Poliner as a competitor constitutes
a group boycott in violation of Section 1 of the Sherman Act. By eliminating Dr. Poliner as a
competitor, the boycott successfully reduced competition for the Defendants’ and their cardiology
groups during the term of the summary suspension and continuing today.

93. Dr. Poliner is unable at this time to state finally the amount of damages sustained to
date and those to be sustained in the future by reason of the illegal acts of Defendants as set forth
herein Dr. Poliner would show that, but for the illegal combination and conspiracy of the
Defendants as alleged herein, as of the date of the filing of this lawsuit, he has suffered damages in
an amount in excess of $1,000,000. Dr. Poliner is further entitled to three times the damages
determined to have been sustained, simple interest orr actual damages as allowed by law, costs of

suit and attorney's fees for the trial or hearing in this Court, an additional amount in the event an

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appeal is taken to the Court of Appeals, and an additional amount for an appeal to the United States
Supreme Court.

94. The Defendants conspired with one another to monopolize or attempt to monopolize
the nuclear, invasive and interventional cardiology services in the relevant market in Dallas, Texas
in violation of 15 U.S.C.A. §§ 1 and 2. The Defendants have conspired to restrain competition and
inhibit trade, including denial of competitive advantages or opportunities in violation of 15 U.S.C.
§15 and §26.

95. The Defendants conspired with one another to perform false and malicious peer
review against Dr. Poliner in order to cause the loss of his privileges to perform cardiovascular
procedures at the Hospital. They did so by using and performing reviews by persons who were
unqualified and/ or who were biased competitors and who were motivated by anti-competitive intent.

96. These reviewers published false and inaccurate written reviews in many cases
contrary to well-established medical principles for the purpose of harming Dr. Poliner, all in an
effort to pursue their anti-competition goal of causing the loss of privileges Dr. Poliner was forced
to consent to an abeyance of his practice under the threat of immediate termination from the Hospital
medical staff. Further, the Hospital subsequently retained an outside reviewer who adopted the
same falsehoods and inaccuracies as in their internal review. The Hospital knew Dr. Lange would
provide favorable testimony, as he had done in previous peer review actions against other
cardiologists

97. Defendants have knowingly, willingly, and maliciously sought to destroy Dr.
Poliner’ s reputation and medical practice in order to inhibit or restrain competition from Dr. Poliner.
This is a pattern of conduct which can be established by the testimony of other doctors and

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competitors Such conduct requires an award of exemplary damages treble damages and attorneys
fees against the defendants in order to discourage such conduct in the future

98. Dr. Poliner is entitled to recover threefold the damages he sustained, and the cost of
suit, including attorneys fees pursuant to Section 4 of the Clayton Act. 15 U.S.C.§15 (1988). ln
addition, pursuant to Section 16, Dr. Poliner seeks declaratory and injunctive relief as prayed for
herein 15 U.S.C. §26 (1988).

V.
COUNT 2
TEXAS FREE ENTERPRISE AND ANTI-TRUST ACT OF 1983
(All Defendants)

99. The statements and allegations contained in paragraphs 1-98 are incorporated by
reference as though fully set out herein

100. Beginning at least as early as April 1998, the exact date being unknown to Dr.
Poliner, and continuing thereafter up to and including the date of filing of this Original Complaint,
the Defendants as set forth herein, have engaged in an unlawful combination and conspiracy in
unreasonable restraint of trade and commerce, iri violation of the Texas Free Enterprise and Anti-
Trust Act of 1983 § 15 .05(a) of the Texas and Business Commerce Code, in furnishing of healthcare
services and has maintained contracts and agreements in unreasonable restraint of trade and
commerce Said violations have consisted of continuing contracts agreements understandings
concert of action, and course of conduct among Defendants as co-conspirators to do, among other

things the following:

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d.

inhibit competition by Dr. Poliner in the areas of interventional and invasive
cardiology in the Dallas/Ft. Worth area;

otherwise allocate customers in such trade or commerce among themselves
foreclose the market for interventional cardiology medical services to
competitors such as Dr. Poliner and prevent Dr. Poliner from competing for
a expanded share of the relevant market;

not compete in such trade or commerce

101 . The effects of the aforesaid facts singularly or in combination, have resulted in a civil

conspiracy by and among the Defendants have caused or will cause, among other consequences the

prevention and restraint of Dr. Poliner from competing in the field of interventional cardiology, with

the following consequences

21.

Dr. Poliner has been restrained in his ability to make his services readily and
fully available to the public;

patients of Dr. Poliner have been forced to seek the services of other
physicians and will thus be denied specialized medical treatment;

Dr. Poliner, by the unlawful acts of Defendants has been virtually eliminated
from the in-patient healthcare services and treatment market at the Hospital
by referrals and emergency room admissions by the competitors in that
market;

Dr. Poliner continues to be defamed and libeled in his practice of medicine

and services by Defendants

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e. Defendants have depleted Dr. Poliner's resources who, even when granted his
due process rights, privileges and review requested, has expended the
financial resources required to remain in business and to compete
successfully in resisting or overcoming the Defendants' conspiracy;

f`. Defendants delayed the ultimate granting of ri ghts privileges and review so
as to severely damage Dr. Poliner's ability to compete or remain in business
even though all or part of the rights privileges and review may ultimately be
granted; and

g. Defendants have deprived Dr. Poliner of a vested property right and his
practice privileges at the Hospital.

102. Defendants singularly and/or in combination, have by their actions violated the
provisions of § 15.05 of the Texas Business and Commerce Code, by attempting to monopolize the
practice of cardiology at the Hospital and/or unlawfully inhibit competition In general, and at the
Hospital campus in particular, Defendants have, through a scheme, artifice or device, attempted to
accumulate the cardiology resources available to the public at the Hospital, into two cardiology
groups ClMA and North Texas Heart Center through which Defendants can regulate, exclude, and
monopolize the practice of cardiology. Dr. Poliner seeks both equitable relief and for damages for
violations of § 15.05, Texas Business and Commerce Code, and pursuant to § 15 .2 1, Texas Business
and Commerce Code Dr. Poliner further alleges that the acts statements determinations and
recommendations made, and facts reported by Defendants as more fully set forth above, were made

with malice and without privilege, legal justification or excuse

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VI.
COUNT 3
BREACH OF CONTRACT
(Presbyterian Hospital)

103. The statements and allegations contained in paragraphs 1-102 are incorporated by
reference as though fully set out herein

104. The governing bylaws of the Hospital are the Amended Bylaws of Texas Health
System (the "Hospital Bylaws"). The Hospital Bylaws provide that the Board of Trustees of THS
has the legal responsibility for the quality of medical care rendered to patients in the health care
facilities of THS, including the Hospital. The Hospital Bylaws provide for Medical/Dental staffs
at each of its health care facilities and delegate to the Medical/Dental staffs the authority and
responsibility for establishing and maintaining reasonable standards of practice The Hospital
Bylaws farther grant to the Medical/Dental staffs the authority to adopt their own Bylaws rules and
regulations subject to approval by the Board of Governors of the applicable health care facility,
including the Hospital.

105 . As part of the consideration for the use of the Hospital`s facilities the medical staff
has recognized in its Bylaws its obligation to insure quality medical care, to supervise enforcement
of the Hospital's rules and regulations and to insure that each member of the medical staff observes
all ethical principles of the profession ln connection with the Hospital's requirements that the
medical staff be responsible for the quality of medical care at the Hospital, the medical staff has

agreed in its Bylaws to investigate and evaluate credentials of applicants for staff privileges

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106. The Medical Staff Bylaws provide a procedure for monitoring and correcting the
performance of the medical staff. Whenever the professional conduct of a doctor on the medical
staff and his use of clinical skills is considered to be lower than the standards or aims of the medical
staff or is deemed to be disruptive to the operations of the Hospital, corrective action against the
doctor may be requested by a member of the medical staff, by the chairman of any clinical
department, by the chairman of any standing committee of the medical staff, by the President, the
Executive Director, or by the Hospital's Board of Governors.

107. The Ho spital Bylaws and the Medical Staffolaws taken to gether, afford contractual
due process rights to members of the medical staff under Texas law.

108. The Hospital's actions described above violated Dr. Poliner's contractual right to due
process in at least the following respects:

a. The Hospital conducted reviews of three cases of Dr. Poliner without
advising him that such reviews were being undertaken, and without
providing him an opportunity to respond to such charges Thereafter, even
though each of these cases was cleared, those cases were subsequently used
as justification by Dr. Knochel for the summary suspension of Dr. Poliner’s
privileges

b. The "concerns" about the medical care provided by Dr. Poliner (who is a
highly skilled cardiologist whose quality of care had never been called into
question prior to 1998) were raised by cardiologists who were in direct

economic competition with Dr. Poliner. Dr. Poliner's rapidly growing

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practice had begun to draw patients away from the practices of these other
cardiologists

Based on reports from competing cardiologists Dr. Knochel placed Dr.
Poliner's privileges in abeyance pending further investigation Dr. Knochel
misrepresented to Dr. Poliner that if he failed to agree to the suspension, his
privileges would be immediately terminated At this point, a fair and
reasonable investigation (including, for example obtaining opinions from
unbiased outside reviewers) would have disclosed that there was no basis for
the "concerns" being raised by Dr. Poliner's competitors

Instead, Dr. Knochel appointed an ad hoc committee, comprised entirely of
Dr. Poliner's direct economic competitors to investigate him. He did this
without providing any of the important procedural rights that accompany the
ad hoc committee procedure under the Medical Staff Bylaws Moreover,
instead of simply investigating the four cases that had been brought to his
attention (“K", "B", " D" and "W'®, Dr. Knochel permitted the members of
the ad hoc committee to look at numerous other cases of Dr. Poliner, all in an
effort to find some way to eliminate Dr. Poliner from the staff. They did so
under the purported cloak of immunity, with the express or implied assurance
that even their identities would be shielded from disclosure This encouraged
Dr. Poliner's competitors to identify as many "problems" in Dr. Poliner's
quality of care as they possibly could, where their zeal carried to the point

that they made negligent, reckless and intentional misstatements ~ which

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would have actually harmed the patients to help ensure the termination of Dr.
Poliner’s privileges at Presbyterian Hospital.
e. Every member of the ad hoc committee who was a competitor of Dr. Poliner
reached harshly critical conclusions about the level of medical care provided
by Dr. Poliner. The one member of the ad hoc committee who was not a
significant competitor concluded that Dr. Poliner's work met the standard of
care in the community. Eventually, every unbiased reviewer was to reach the
same conclusion lt was unreasonable - and a violation of the letter and spirit
of the due process provisions in the Medical Staff Bylaws - for Dr. Knochel
to appoint an ad hoc committee comprised entirely of Dr. Poliner's
competitors and to rely solely on their evaluations in deciding to summarily
suspend Dr. Poliner's privileges
109. Even though Dr. Poliner's privileges were eventually restored, the summary
suspension - which was imposed as a result of the breach of contractual due process described above
- remains a part of Dr. Poliner’s permanent record The fact that it was ever imposed, and the fact
that it remains on his record, has caused and will continue to cause substantial damage to Dr.
Poliner's cardiology practice
110. The Hospital violated the Hospital bylaws by issuing a summary suspension of
Dr. Poliner’s privileges without prior notice and hearing and under circumstances that were not
appropriate for summary suspension, illegally boycotted the Plaintiff, and attempted to unfairly
monopolize the cardiology practice at the Hospital. ln addition, the Hospital failed to provide Dr.
Poliner the opportunity to interview the ad hoc investigating committee, as required by the bylaws

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111. The Hospital utilized the summary suspension method, despite the fact that the
bylaws require its use only when a doctor presents an immediate danger to the healthcare of his
patients - such as an impaired doctor. Further, the Hospital utilized economic competitors in
violation of its own bylaws as well as the QHC Act.

112. As a result, Dr. Poliner seeks to recover his actual damages as proven at trial,
together with his reasonable and necessary attorneys' fees court costs and interest as allowed by law.
VII.

COUNT 4

VlOLATION OF FEDERAL HEALTH CARE QUALITY
IMPROVEMENT ACT

(All Defendants)

113. The statements and allegations contained in paragraphs 1-112 are incorporated by
reference as though Hilly set out herein

114. The Health Care Quality lmprovement Act (“HCQ Act”), which Was designed to
encourage physicians to engage in reviews of their peers permits immunity to attach to such review
activities provided the reviews meet certain procedural requirements ln order to be entitled to a
presumptive immunity under the HCQ Act, Defendants must meet the four requirements of the Act
including the requirement that (1) the review action was taken in the reasonable belief that the action
was in the furtherance of quality health care, (2) after reasonable effort to obtain facts of the matter,
(3) after adequate notice and hearing procedures were afforded to the physician or after such other

procedures as were fair to the physician under the circumstances and (4) in the reasonable belief that

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the action was warranted by facts known after such reasonable effort to obtain facts and after such
adequate procedures 42 U.S.C. §11111(a)1, 11112(a).

115. ln the instant case, the Defendants forfeited their immunity under the HCQ Act
because their actions were not taken in the reasonable belief that the action was in furtherance of
quality health care but rather were taken to promote the goal of monopolizing invasive and
interventional cardiology at the Hospital. The reviews were conducted by reviewers who were
economic competitors and they did not conduct an adequate investigation having failed to make
a reasonable effort to obtain the true facts Moreover, no notice and hearing opportunity were
provided to Dr. Poliner prior to the summary suspension, other than a one hour sham meeting in
Dr. Knochel's office

116. That the Defendants acted in bad faith is also demonstrated by the fact that their
reviews were based on arbitrary as opposed to authoritative standards of review and were riddled
with misrepresentations inaccuracies and misstatements The Defendants failed and refused to even
interview Dr. Poliner before they administered the summary suspension of a_ll cath lab and
echocardiographic privileges (which comprised over 90% of his cardiology practice). The
Defendants failed to even consider his opinion

l 17. Amazingly, Dr. Knochel admitted during his peer review testimony that they failed
to consider Dr. Poliner's opinion The Defendants acted out of a desire to monopolize or attempt
to monopolize the invasive and interventional cardiology services within the relevant market, by
eliminating Dr. Poliner and other competing cardiologists from the Hospital. ln addition to

providing false reviews and relying upon incompetent reviewers Defendants knowingly presented

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false reports and false testimony. These actions along with other actions demonstrate that the
Defendants have forfeited their entitlement to any immunity under federal law.

1 18. The various reviews conducted by the Defendants were so patently erroneous that it
was not reasonable for the Hospital to rely on them as the basis for the summary suspension

119. ln 1986, Texas adopted a mirror image of the F ederal Health Care Quality
lmprovement Act, the Texas Health Care Quality lmprovement Act, 4495b, § 5.06m, but added an
additional component of malice ln this case, the Defendants forfeited immunity because they acted
with actual malice, i.e. - actual knowledge of the falsity or in reckless disregard of the falsity of the
allegations against Dr. Poliner. Defendants' malice is documented in at least the following ways:

a. ln summarily suspending the Plaintiffs privileges at the Hospital without a
reasonable effort to obtain the facts without prior notice and hearing in
violation of the bylaws of the Hospital;

b. ln conducting a limited and biased false review by economic competitors
many of whom were not qualified to perform the reviews who should not
have been allowed to perform the reviews;

c. ln including in the case against Dr. Poliner seven (7) cases already reviewed
and cleared by the risk committee that were used as the basis of the action
against Dr. Poliner;

d. ln acting not in the interest of the furtherance of health care but out of a desire
to monopolize or attempt to monopolize the invasive and interventional

cardiology services at the Hospital;

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e. ln intentionally and knowingly providing false and inaccurate summaries of
Dr. Poliner's cases prepared by reviewers who were economic competitors
`f`. ln failing to utilize an objective outside reviewer for the purpose of
conducting the reviews especially after the IMAC expressly recognized the
need for such an independent review; and
g. ln presenting false testimony to the peer review panel.
120. As a result of the foregoing, Dr. Poliner seeks a declaration that the Defendants are
not entitled to immunity under federal or state law.
VII.
COUNT 5
BUSINESS DISPARAGEMENT, SLANDER AND LIBEL

(All Defendants)

121. The Statements and allegations contained in paragraphs 1-120 are incorporated by
reference as though fully set out herein

122. The suspension of Dr. Poliner through the action of Defendants as set forth above,
has been communicated by the Defendants to other physicians hospitals patients and individuals
Despite the intent of the Bylaws and the law that peer review proceedings be held in a confidential
manner, Defendants allowed the information regarding Dr. Poliner's peer review to be published to
various members of the Hospital's medical staff immediately (including specifically Dr. Poliner's
referral doctors), such that Dr. Poliner was labeled a “dangerous doctor" well in advance of a

hearing.

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123. The Defendants communications were slanderous and libelous per se because they
had a tendency to injure Dr. Poliner in his profession and as such qualify as slander or libel per se
in accordance with the statutory definitions contained in § 73.001 Texas Civil Practice & Remedies
Code.

124. The above-described defamation of Dr. Poliner by Defendants has held and continues
to hold Dr. Poliner up to shame, contempt and ridicule and caused both personal and professional
embarrassment and humiliation to him, Dr. Poliner has suffered and will continue to suffer actual
damage, including damages for lost profits loss of past and future earning capacity in the amount
in excess of $1,000,000. ln addition, Dr. Poliner has suffered damages for past and future mental
anguish and emotional distress all to his damage and detriment in an amount of at least $l,000,000.

125. The avowed grounds upon which Dr. Poliner was suspended are entirely false and
untrue The actions of Defendants as described herein are without privilege, legal justification or
excuse Defendants' communications regarding Dr. Poliner's groundless suspension to other
physicians hospitals patients associations media and individuals were spoken or written
maliciously by the Defendants for the reason that they were made with the knowledge that they were
false or with reckless disregard for whether they were true or false so as to indicate a conscious
indifference to the rights of Dr. Poliner. The acts statements determinations and recommendations
made, and the acts reported by the Defendants as more fully set forth above, were made with malice
Accordingly, Dr. Poliner is entitled to recover exemplary damages in an amount up to two times his

economic damages plus an amount equal to any non-economic damages not to exceed $750,000.

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IX.
COUNT 6
TORTUOUS INTERFERENCE WITH BUSINESS

(All Defendants)

126. The statements and allegations contained in paragraphs 1-125 are incorporated by
reference as though fully set out herein

127. The temporary abeyance and summary suspension and later termination of Dr. Poliner
through the actions of the Defendants and the publication of the suspension and termination, as
described herein, constitutes a tortuous interference with Dr. Poliner's business particularly his
relationship with his patients

128. The suspension and termination of Dr. Poliner, and the publications of such fact to
members of the medical staff, protected no legitimate business interest of the Defendants

129. The suspension and termination and the publications improperly influenced other
hospitals physicians patients and other healthcare organizations not to deal with Dr. Poliner.

130. The acts statements determinations and recommendations made and acts reported
by the Defendants as described herein, were undertaken with malice and with the intention of
preventing the contractual relationships between Dr. Poliner and his patients as well as the
contractual relationships with his referring doctors from occurring These actions were undertaken
for the purpose of harming Dr. Poliner and inhibiting competition Defendants did not and do not

possess a privilege, legal justification or excuse which would have condoned such actions Dr.

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Poliner's business would not have been lost and Dr. Poliner would have obtained substantially
greater business in the absence of Defendants’ interference

131 . As a direct result of Defendants’ interference with Dr. Poliner's business Dr. Poliner
has suffered and will continue to suffer actual damages including damages for lost profits loss of
past and future earnings and/or earning capacity in an amount in excess of $1,000,000 dollars ln
addition, Dr. Poliner has suffered damages for past and future mental anguish and emotional distress
all to his damage and detriment in the amount of at least $ l ,000,000 dollars Further, for the reasons
more fully set forth above, Dr. Poliner is entitled to recover exemplary damages in an amount up to
two times his economic damages plus an amount equal to any non-economic damages up to
$750,000.

X.
COUNT 7
TORTUOUS INTERFERENCE WITH PROSPECTIVE ADVANTAGE

(All Defendants)

132. The statements and allegations contained in paragraphs 1-131 are incorporated by
reference as though fully set out herein

133. The suspension of Dr. Poliner through the actions of the Defendants has resulted in
a denial of the prospective business advantage which Dr. Poliner would have had in the Dallas/Fort
Worth geographical market area, in that he has been denied the reasonable prob ability that he would

have attracted patients for whom he would have performed medical services in the field of

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interventional cardiology in the absence of Defendants' interference, as well as referrals from other
doctors

134. By their acts the Defendants have acted maliciously and intentionally and excluded
Dr. Poliner from performing cardiology services at the Hospital thereby intentionally preventing him
from forming relationships with new patients and with the intended purpose of denying Dr. Poliner
the opportunity to perform the professional services for which he has been trained in the field of
interventional cardiology in the Dallas/Fort Worth geographical area.

135. The actions of the Defendants were not privileged, legally justified or excused

136. The actions of the Defendants have caused actual harm and damaged Dr. Poliner as
a result of their depriving him of the vested property right to perform his professional skills at
Presbyterian Hospital in the fields of interventional, echo and nuclear cardiology.

137. As a direct result of Defendants' interference with Dr. Poliner's prospective advantage,
Dr. Poliner has suffered and will continue to suffer actual damages including damages for loss
profits loss of past and future earning capacity in the amount in excess of $1,000,000. ln addition,
Dr. Poliner has suffered damages for past and future mental anguish and emotional distress all to his
damage and detriment in the amount of at least $l,000,000. Further, the acts statements
determinations and recommendations made and the acts reported by Defendants as more fully set
forth above were made with malice Dr. Poliner is entitled to recover exemplary damages in an
amount up to two times Dr. Poliner's economic damages plus an amount equal to any non-economic

damages up to $750,000.

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XI.
COUNT 8
VIOLATION OF THE DECEPTIVE TRADE PRACTICES ACT

(Presbyterian Hospital)

13 8. The statements and allegations contained in Paragraphs 1-13 7 hereof are incorporated
by reference as though fully set forth herein

139. At all times relevant to this suit, Defendants were engaged in "trade“ and "commerce"
as defined in Section 17.45(5) of the Deceptive Trade Practices-Consumer Protection Act, in Texas

140. The foregoing involves Defendants' use or employment of the following false,
misleading or deceptive acts or practices that are specifically enumerated in the Deceptive Trade
Practices-Consumer Protection Act, Section l7.46(b):

a. disparaging the goods services or business of another by false or misleading
representation of facts;

b. representing that an agreement confers or involves rights remedies or
obligations to which it does not have or involve, or which are prohibited by
laws;

c. the failure to disclose information concerning goods or services which was
known at the time of the transaction if such failure to disclose such
information was intended to induce the consumer into a transaction into
which the consumer would not have entered had the information been

disclosed

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141. Accordingly, Dr. Poliner maintains his action under the Deceptive Trade Practices-
Consumer Protection Act § 17.50 and under § 17.50(b) may recover his actual damages in an amount
in excess of $ 1 ,000,000, and up to three times the amount of his actual damages for Defendants' acts
that were committed knowingly.

XII.
COUNT 9

INTENTIONAL INFLICTION OF MENTAL ANGUISH
AND EMOTIONAL DISTRESS

(All Defendants)

142. The statements and allegations contained iri paragraphs 1-141 are incorporated by
reference as though fully set out herein

143. The summary suspension and termination of Dr. Poliner through the actions of the
Ho spital, Defendants and the publication of said suspensions as set forth above constitute intentional
infliction of mental and emotional distress

144. By their acts these Defendants have acted intentionally and recklessly and excluded
Dr. Poliner from performing cardiology services at the Hospital with the intended purpose of denying
Dr. Poliner the opportunity to perform the professional services for which he has been trained

145. The actions of the Defendants were not privileged legally justified or excused

146. The actions of the Defendants were extreme and outrageous and have caused actual
harm and damage to Dr. Poliner as a result of their actions denying Dr. Poliner the right to perform

his specialities to the fullest extent at the Hospital.

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147. As a direct result of Defendants’ actions Dr. Poliner has suffered and will continue
to suffer actual damages including damages for lost profits loss of past and future earnings and/or
earning capacity in the amount of at least $ l ,000,000. ln addition, Dr. Poliner has suffered damages
for past and future mental anguish and emotional distress all to his damage and detriment in the
amount of at least 81,000,000. Further, the acts statements determinations and recommendations
made and acts reported by Defendants as more fully set forth above were made with malice Dr.
Poliner is entitled to recover exemplary damages in an amount up to two times his economic
damages plus an amount equal to any non-economic damages up to $750,000.

XIV.
COUNT 10

APPLICATION FOR TEMPORARY RESTRAINING ORDER, 'I`EMPORARY
INJUNCTION AND PERMANENT INJUNCTION

(Presbyterian Hospital)

148. The statements and allegations contained in paragraphs 1-147 are incorporated by
reference as though fully set out herein

149. The Health Care Quality lmprovement Act provides that a healthcare entity that
"takes a professional review action that adversely affects the clinical privileges of a physician for a
period of longer than 30 days“ shall report to the Board of Medical Examiners information
concerning the action taken against the physician 42 U.S.C. § 11133. Texas has "opted- in" the
federal enforcement scheme established by the Health Care Quality lmprovement Act and
incorporated the provisions of the Health Care Quality lmprovement Act into its requirements Texas

Revised Civil Statutes Article 4495b, Section 5 .06(a). Dr. Poliner will suffer immediate irreparable

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and permanent harm if Defendants are not restrained from enforcing or taking any professional
review action which adversely affects Dr. Poliner's privileges at the Hospital in the future There is
no adequate alternative remedy available to Dr. Poliner at this time Further, there is no danger that
the public will be deprived of valuable services or benefits or otherwise suffer any injury if an
injunction is issued Based upon the foregoing facts and lack of adequate remedy at law and due to
the irreparable harm and damage which Dr. Poliner will suffer, it is respectfully requested that the
Court issue an injunction restraining Defendants and their employees officers directors
representatives and/ or agents from further enforcing or taking any professional review action which
adversely affects Dr. Poliner's privileges at Presbyterian Hospital other than that action previously
taken
XV.
COUNT 11
REQUEST FOR DECLARATORY RELIEF
(All Defendants)

150. The statements and allegations contained in paragraphs 1-149 are incorporated by
reference as though fully set out herein

151. Pursuant to § 37.001 of the Texas Civil Practice and Remedies Code and Section 4
of the Clayton Act, 15 U.S.C. §26, Dr. Poliner requests that the Court declare that Defendants'
actions are not entitled to immunity under either the HCQ Act, 42 U.S.C.A. § 1 1 1 1 1, et. seq., or the
state version, Art. 4495b § 5.06(m), V.T.C.S.

152. As a direct and proximate result of the actions of Defendants Dr. Poliner has
expended considerable sums of money which Dr. Poliner would not otherwise had been required to

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spend due to the necessity of overcoming the attempts of the Defendants to deny Dr. Poliner's
cardiology practice at the Hospital.

153. As a direct result of the foresaid actions of Defendants Dr. Poliner's echo and cath
lab privileges at the Hospital were terminated and Dr. Poliner will continue to suffer substantial
damages to his reputation and practice all to his detriment

154. Dr. Poliner has incurred and will continue incur a loss of revenues including loss of
patients and loss of proceeds from the sale of medical services that Dr. Poliner could reasonably
anticipate if his practice of medicine had not been illegally restrained

155. Dr. Poliner has incurred significant direct co st as a result of the actions of Defendants
alleged herein

15 6. Dr. Poliner is unable at this time to state finally the amount of damages sustained and
to be sustained by reason of the illegal acts of the Defendants set forth herein Dr. Poliner would
show that, but for the actions of Defendants Dr. Poliner has suffered and will continue to suffer
damages in the amount of at least $1,000,000. Dr. Poliner is further entitled to all damages as
permitted by law including without limitation, declaratory relief, simple interest on actual damages
interest as allowed by law, cost of suit and attomey‘s fees all pursuant to applicable law including,
without limitation, Sec. 38.001, Texas Civil Practice & Remedies Code and Sec. 37.009 of the Texas
Civil Practice & Remedies Code ln this regard Dr. Poliner would show that he was required to
bring this suit and has agreed to pay reasonable attorney's fees for trial or hearing in this cause in this
court and additional reasonable amount in the event an appeal is taken to the court of appeals; an
additional reasonable amount in the event Dr. Poliner is required to respond to an application for writ
of error and additional reasonable amount for an appeal to the Supreme Court of the United States

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XVI.
COUNT 12
DENIAL OF DUE PROCESS

(Presbyterian Hospital)

157. The statements and allegations contained in paragraphs 1-156 are incorporated by
reference as though fully set out herein

158. Dr. Poliner held a property interest in his contractual relationship with the Hospital
for privileges together with his contractual right to treat his patients and be paid by his patients and
their insurance companies These property rights are subject to protection under the due process
clause of the Texas Constitution as well as the 14th Amendment of the United States Constitution.

159. Accordingly, in the absence of exigent circumstances these rights could not be taken
away without affording due process

160. Further, under the Texas Hospital Licensing Law, all hospitals that are licensed must
provide procedural due process Texas Health & Safety Code § 241.101. Under Texas law, the
process for considering applications for medical staff membership and privileges or the renewal,
modification, or revocation of medical staff privileges must afford each physician procedural due
process

161. Defendants summary suspension of Dr. Poliner denied Dr. Poliner his due process
right and caused him substantial damages There was no prior notice to Dr. Poliner that his
privileges were about to be suspended Dr. Poliner was given less than one hour to discuss all 26

cases under review with the lMAC. The members of IMAC were completely disinterested in

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anything Dr. Poliner had to say. The members of IMAC were simply a “rubber stamp” of the
findings of the competing cardiologists and of Dr. Knochel. There was no hearing. There were no
witnesses presented There was no opportunity for cross examination There were no exhibits
reviewed

162. The fact that after the fact, Dr. Poliner was given an opportunity to have a review
hearing does not change the fact that procedural due process was not followed Once Dr. Poliner was
summarily suspended he was “in the system” and he was labeled a dangerous doctor. Accordingly,
the post-facto opportunity to have a hearing does not satisfy the Hospital’s due process obligations

163. As a direct result of Defendants interference with Dr. Poliner's business Dr. Poliner
has suffered and will continue to suffer actual damages including damages for lost profits loss of
past and future earnings and/or earning capacity in the amount in excess of $1,000,000 dollars In
addition, Dr. Poliner has suffered damages for past and lilture mental anguish and emotional distress
all to his damage and detriment in the amount of at least $1,000,000 dollars Further, for the reasons
more f`ully set forth above Dr. Poliner is entitled to recover exemplary damages in an amount up to
two times his economic damages plus an amount equal to any non-economic damages up to
$750,000.

XVII.
COUNT 14
VIOLATION OF THE TEXAS MEDICAL PRACTICE ACT
(All Defendants)

164. The statements and allegations contained in paragraphs 1-163 are incorporated herein

by reference as if set forth at length.

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165.

The actions and conduct of Defendants described herein, in commencing and

continuing a peer review investigation of Dr. Poliner, were taken with malice as defined under Texas

law, and without a reasonable basis Accordingly, Dr. Poliner is entitled to recover his actual

damages incurred as a result of such violation

166.

Accordingly, Dr. Poliner sues to recover his actual damages as proven at trial,

together with his reasonable and necessary attorneys fees interest and court costs as allowed by law.

WHEREFORE, PREMISES CONSIDERED, Dr. Poliner prays that Defendants be cited

to appear and answer herein, and that upon final trial or hearing, Dr. Poliner recover judgment

against the Defendants jointly and severally, ordering as follows:

A.

That the Court adjudge and decree that Defendants have engaged in an unlawful
attempt to monopolize and to conspire to monopolize the cardiology market and to
inhibit competition, in violation of federal law',

That the Court adjudge and decree that Defendants have engaged in an unlawfirl
conspiracy to attempt to monopolize the cardiology market and conspiracy to inhibit
competition, in violation of Texas law;

That the Court award Dr. Poliner his actual damages as proved at trial on all Counts
of the Complaint;

That the Court award Dr. Poliner statutory damages as allowed by law;

That each of the Defendants and the respective officers directors agents and
employees and all other persons acting or planning to act on behalf thereof, or in
concert therewith be perpetually enjoined and restrained from in any manner, directly

or indirectly, continuing, maintaining or renewing the aforesaid conspiracy, and from

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adopting or following any practice plan, program or design, having a similar purpose
or effect;
That the Court grant an injunction against the Defendants from enforcing or taking
any professional review action which adversely affects Dr. Poliner's privileges at the
Hospital without justification',
That the Court award punitive damages as allowed by law;
That the Court award pre-judgment and post-judgment interest as provided by law;
That Dr. Poliner be awarded reasonable and necessary attorneys' fees in the trial court
and all subsequent appeals;
That the Court award Dr. Poliner his taxable costs of Court; and
That this Court grants such other and further relief to which Dr. Poliner may show
himself justly entitled

Respectfully submitted

KANE, RUSSEL

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